Case 21-30589-MBK         Doc 1722      Filed 03/14/22 Entered 03/14/22 16:30:39     Desc Main
                                      Document      Page 1 of 3




     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Cohen, Placitella & Roth, P.C.
     Christopher M. Placitella
     Michael Coren
     Dennis M. Geier
     Eric S. Pasternack
     cplacitella@cprlaw.com
     mcoren@cprlaw.com
     dgeier@cprlaw.com
     jmplacitella@cprlaw.com
     justinplacitella@cprlaw.com
     127 Maple Avenue
     Red Bank, NJ 07701
     Telephone: (732) 747-9003
     Facsimile: (732) 747-9004

     Attorneys for Non-Party Movants Daniel Edley and
     Roger Edley

     In re:                                              Chapter 11
     LTL MANAGEMENT LLC,                                 Case No. 21-30589 (MBK)
     Debtor.1
                                                         Hearing Date: April 12, 2022
     Defendants.                                         Objection Deadline: April 5, 2022




            NOTICE OF MOTION BY NON-PARTY MOVANTS DANIEL EDLEY AND
            ROGER EDLEY FOR AN ORDER (I) CONFIRMING THAT THE
            AUTOMATIC STAY AND PRELIMINARY INJUNCTION DO NOT APPLY
            TO AN INTENDED PUTATIVE CLASS ACTION TO BE FILED AGAINST
            JOHNSON AND JOHNSON AND OTHER NONDEBTOR DEFENDANTS,
            OR, IN THE ALTERNATIVE, (II) GRANTING RELIEF FROM THE
            AUTOMATIC STAY TO ALLOW THE INTENDED PUTATIVE CLASS
            ACTION TO PROCEED

           PLEASE TAKE NOTICE that the Non-party Movants Daniel Edley and Roger Edley

 ("Movants"), by and through their undersigned counsel, shall move before the Honorable


 1The last four digits of the Debtor’s taxpayer identification number are 6622. The
 Debtor’s address is 501 George Street, New Brunswick, New Jersey 08933
Case 21-30589-MBK        Doc 1722     Filed 03/14/22 Entered 03/14/22 16:30:39              Desc Main
                                    Document      Page 2 of 3



 Michael B. Kaplan, Chief Judge, on April 12, 2022, at 10:00 a.m. at the United States

 Bankruptcy Court, District of New Jersey, Clarkson S. Fisher U.S. Courthouse, 402 East State

 Street, Trenton, New Jersey 08608, or soon thereafter as the matter may heard, for the entry of an

 order (i) confirming that the automatic stay under Bankruptcy Code § 362 extended to cover

 Johnson and Johnson and other nondebtor defendants as Protected Parties by the Order of this

 Court along with the Court’s Preliminary Injunction Decree under Bankruptcy Code §105

 entered on March 7, 2022 (ECF No. 1635) do not apply to a putative class action against Johnson

 and Johnson and other nondebtor defendants that Movants intend to forthwith file in the Superior

 Court of New Jersey, Middlesex Vicinage, or, in the alternative, (ii) granting relief from the stay

 pursuant to § 362(d) of the Bankruptcy Code to allow the intended putative class action against

 Johnson and Johnson and other nondebtor defendants to proceed, and (iii) granting such other

 and further relief as the Court deems just and proper.

        PLEASE TAKE FURTHER NOTICE that the Movants shall rely upon the

 Memorandum of Law in Support of Motion by Non-Party Movants Daniel Edley and Roger

 Edley for an Order (i) confirming that the Automatic Stay and Preliminary Injunction do not

 apply to an intended putative class action to be filed against Johnson and Johnson and other

 nondebtor defendants, or, in the alternative, (ii) granting relief from the automatic stay to allow

 the intended putative class action to proceed, and the Declaration of Christopher M. Placitella,

 and the accompanying exhibits, submitted herewith pursuant to D.N.J. LBR 9013-1(a).

        PLEASE TAKE FURTHER NOTICE that any papers in response to the Motion must

 be filed with the Court and served upon the Movants and other parties required to receive notice

 no later than seven (7) days in advance of the hearing date pursuant to D.N.J. LBR 9013-2(a)(2).

 If opposing papers are not filed and served within the required time, the Motion shall be deemed
Case 21-30589-MBK       Doc 1722     Filed 03/14/22 Entered 03/14/22 16:30:39        Desc Main
                                   Document      Page 3 of 3



 uncontested pursuant to D.N.J. LBR 9013-3(d) and an Order may be signed and entered in the

 Court’s discretion.

        PLEASE TAKE FURTHER NOTICE that pursuant to D.N.J. LBR 9013-3(d) oral

 argument may only be presented by a party that has filed opposition to the Motion


  Dated: March 14, 2022
                                           COHEN, PLACITELLA & ROTH PC


                                           ___/S/ Christopher M. Placitella__________
                                           Christopher M. Placitella (ID 27781981)
                                           Michael Coren (ID 24871979)
                                           Dennis M. Geier (ID 035272006)
                                           Eric S. Pasternack (ID 015132011)
                                           Jared M. Placitella (ID 068272013)
                                           Justin I. Placitella (ID 105812014)
                                           (732) 747-9003
                                           cplacitella@cprlaw.com
                                           mcoren@cprlaw.com
                                           dgeier@cprlaw.com
                                           epasternack@cprlaw.com
                                           jmplacitella@cprlaw.com
                                           justinplacitella@cprlaw.com
